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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA,

                      Plaintiff,                        Criminal No. 2:25-cr-38-1

       v.                                               Hon. William S. Stickman IV

DONTE LASHAWN COLE,

                      Defendant.



                                     HEARING MEMO

                         HEARING HELD: Waiver and Plea Hearing
                          DATE HEARING HELD: April 14, 2025
                            BEFORE: William S. Stickman, IV

Appearing for Government:                           Appearing for Defendant:
Robert Schupansky, Esquire                          Gabrielle Lee, Esquire

Hearing began at 2:42 p.m.                          Hearing concluded at 3:28 p.m.

Stenographer: Melissa Moore

                                         OUTCOME:

Defendant waived his right to indictment and pleaded guilty to Count 1 of the Information.
The Court adjudicated the defendant guilty.
Sentencing scheduled for 08/18/25 at 1:30 p.m.
The probation office will be directed to prepare a presentence investigation report.
$100.00 special assessment imposed.
The appropriate orders will follow.
